97 F.3d 1447
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Walter JACKSON, Plaintiff-Appellant,v.Parker EVATT, Commissioner S.C.D.C.;  Frankie Rickenbaker,Warden;  Evelyn Wardlaw, Social Worker;  Frank Harrison,Chief;  Paul Bollman, Captain;  South Carolina Parole andPardon Board;  Mr. Smith, Classification Supervisor,Defendants-Appellees.
    No. 96-6225.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 20, 1996.Decided Oct. 1, 1996.
    
      Walter Jackson, Appellant Pro Se.  Douglas McKay, Jr., Daniel Roy Settana, Jr., MCKAY, MCKAY, HENRY &amp; FOSTER, P.A., Columbia, South Carolina;  Carl Norman Lundberg, SOUTH CAROLINA DEPARTMENT OF PROBATION, PAROLE &amp; PARDON SERVICES, Columbia, South Carolina, for Appellees.
      Before NIEMEYER, HAMILTON, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. § 1983 (1994) complaint.  Appellant's case was referred to a magistrate judge pursuant to 28 U.S.C. § 636(b)(1)(B) (1994).  The magistrate judge recommended that relief be denied and advised Appellant that failure to file timely and specific objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, Appellant failed to file specific objections to the magistrate judge's recommendation.
    
    
      2
      The timely filing of specific objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation when the parties have been warned that failure to object will waive appellate review.   Wright v. Collins, 766 F.2d 841, 845-46 (4th Cir.1985);   Orpiano v. Johnson, 687 F.2d 44, 47 (4th Cir.1982).   See generally Thomas v. Arn, 474 U.S. 140 (1985).  Appellant has waived appellate review by failing to file specific objections after receiving proper notice.  Accordingly, we deny Appellant's request for production of documents and affirm the judgment of the district court.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    